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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                       No. 2:12-md-02323-AB
INJURY LITIGATION                                MDL No. 2323


Kevin Turner and Shawn Wooden,
on behalf of themselves and                      Civil Action No. 2:14-cv-00029-AB
others similarly situated,

       Plaintiffs,

         v.

National Football League and
NFL Properties, LLC,
Successor-in-interest to
NFL Properties, Inc.,

       Defendant.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



               MEMORDUM IN OPPOSITION TO OBJECTOR PETITION
               FOR AN AWARD OF ATTORNEY FEES AND EXPENSES


       Pursuant to Fed R. Civ. P. 23(h)(2), Class Members Britt Hager, Rich Miano, Tra

Thomas, Richard Brown, Kevin Sargent, Ron Davis, Mark Rypien, Scott Dierking, Mike

McCurry, John Goodman, Scott Laidlaw, Richard Stachon, Neil Graff, David

Thompson, Ed Koontz, Jim Flanigan, Michael Hoban, Carlton Kammerer, Greg

Brown, Rex Kern, Willie Williams, Charlie Hinton, June Jones, Jerry Kramer, Janice

Womble on behalf of Royce Womble, Darnell Powell, Reggie Dupard, Bob Nelson, Jon

Hand, Charles King, Bill Larson, Doug Lantz, Billy Van Heusen, Raymond Kubala,
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Lem Burnham, Michael McGill, Ken Frost, Craig Bingham, Mike Pagel, Chuck

Thomas, Cris D’Annunzio, Jesse Green, Mike Phipps, Bethany Wirgowski on behalf of

Dennis Wirgowski, John Stofa, Dana Nafziger, Doug Dennison, Bob DeMarco, Dave

Dixon, Bill Schultz, James Pruitt, Thomas Cassese, Karl Nelson, Brian Baldinger,

Gene Heeter, Russell Jensen, Don Herrmann, Mark Collins, Guido Merkens, Craig

Dunaway, Jacob Green, Danny Neal, Larry Kolic, Sonny Randle, Charles Benson,

Dennis Franks, Travis Dorsch, Todd Hines, Ralph Baker, Ron Porter, Billy Ray Smith,

Chris Gedney, Michael Fuller, Edward Wilson, Cheri Gaechter on behalf of Michael

Gaechter, Joe Jones, Frederick Mazurek, Norris Williams, Bert Weidner, Aaron

Francisco, Vaughn Broadnax, Dan LaRose, Vince Tuzeo, Guy Ruff, William Parker,

Sembree Knapp, Harvey Goodman, Kenny Bell, Cleveland Wester, Richard Trapp, Carl

Brettschneider, Roger Leclerc, Reggie Rivers, Curt Warner, Ted McKnight, James

Cumbie, James “JB” Brown, Bruce Hardy, Irvin Eatman, Michael Horan, Joseph

Cocozzo, Kristi Satterfield on behalf of Dick Evey, Darryl Ingram, Milt McColl, Derwin

Williams, Daryle Skaugstad, Anthony “AD” Laster, Brian McConnell, Dave Osborn,

Andrew Selfridge, Steve Duich, Mike McDonald, Bill Ransdell, Joseph Biscaha, James

Beirne, Bill Elko, John Skorupan, Joe Reed, Peter Cusick, Don Strock, Luke Fisher,

Kent Nix, Kevin Call, Tim Green, Tom Reynolds, William “Don” Gillis, Charles Wilson,

Paul Latzke, Clarence Harmon, Larry Wallace, Bryan Knight, Freeman White, Dennis

Shaw, Richard Ackerman, Joseph Jackson, Carl Hinton, Kevin McArthur, Robbie

Jones, Clarence Scott, Leroy Kelly, Don Latimer, Dale Messer, Terry Nugent, Derrick

Beasley, Leroy Holt, Wayne Roby, Lenard Gotshalk, Michael Lemon, Mike Richardson,

Harold Olsen, Champ Henson, William Brown, William Blackburn, Carla Brim on

behalf of Michael Brim, Bill Glass, Len Hauss, Darnell Powell, Tom Jeter, (the “Mitnick

Clients”) hereby oppose the request of an award of attorney fees and expenses as set forth in the
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Objectors’ Memorandum of Law in Support of their Petition for an Award of Attorney Fees and

Expenses.




Dated:                                           /s/Craig R. Mitnick



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                               CERTIFICATION OF SERVICE




       I hereby certify that on May 9, 2017, I caused the foregoing Objection to The Petition for

an Award of Attorney Fees and Expenses by Objectors to be filed with the United States District

Court for the Eastern District of Pennsylvania via the Court’s CM/ECF System, which will

provide electronic notice to all counsel and parties.



DATED:                                        _________________________________________
                                              Craig R. Mitnick, Esquire
